                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA,                  )
                                             )
               Plaintiff,                    )
                                             )
  v.                                         )      No.:   3:10-CR-110-TAV-HBG-8
                                             )
  DORIAN JOHNSON,                            )
                                             )
               Defendant.                    )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on defendant’s motion for reconsideration

  [Doc. 619]. On November 5, 2021, the Court denied defendant’s motion requesting the

  Court to modify his sentence by retroactively ordering his sentence to run concurrently

  with a corresponding state sentence [Doc. 618].       Specifically, defendant’s motion

  suggested the Court did not order his sentence to be served concurrently with his

  corresponding state sentence [Doc. 617 p. 2]. Therefore, because defendant suggested

  the Court was silent as to whether defendant’s sentence should run concurrently with his

  state sentence, the Court applied the presumption that his sentence was imposed to run

  consecutively [Doc. 618].     Now, in defendant’s instant motion for reconsideration,

  defendant suggests he affirmatively requested a concurrent sentence at the end of his

  sentencing hearing after his attorney stated he had nothing further to add regarding

  sentencing, and defendant avers the Court acknowledged this request [Doc. 619].

        A court generally lacks “the authority to change or modify [a sentence, once

  imposed,] unless such authority is expressly granted by statute.”      United States v.



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  Thompson, 714 F.3d 946, 948 (6th Cir. 2013) (citing United States v. Curry, 606 F.3d

  323, 326 (6th Cir. 2010)). Defendant has cited no such statutory authority that would

  allow the Court to grant the requested relief, and the Court is not aware of any

  such statutory authority.1      Accordingly, because the Court lacks authority to grant

  the requested relief, defendant’s motion for reconsideration [Doc. 619] is DENIED.

         IT IS SO ORDERED.


                                        s/ Thomas A. Varlan
                                        UNITED STATES DISTRICT JUDGE




         1
             Separately, the Court notes defendant has provided no evidence that supports his
  assertion that he requested a concurrent sentence. In fact, defendant’s assertion is contradicted
  by the record because defendant’s sentencing transcript reflects that defendant did not in fact
  request a concurrent sentence at the end of his sentencing hearing after his attorney stated he had
  nothing further to add regarding sentencing [Doc. 509 pp. 14–15].
                                                   2


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